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 FLORENCE T. NAKAKUNI 2286
 United States Attorney
 District of Hawaii

 HARRY YEE 3790
 Assistant U.S. Attorney
 Room 6-100, PJKK Federal Bldg.
 300 Ala Moana Boulevard
 Honolulu, HI 96850
 Telephone: (808) 541-2850
 Facsimile: (808) 541-3752
 E-mail: Harry.Yee@usdoj.gov

 Attorneys for Defendant
 UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 JENNIFER ROBINSON AND PAUL A.  )         CIVIL NO. 10-00141 LEK KSC
 ROBINSON, INDIVIDUALLY AND AS  )
 NEXT FRIEND OF JACK D.         )
 ROBINSON,                      )         STIPULATION AND ORDER FOR
                                )         DISMISSAL WITH PREJUDICE
                Plaintiffs,     )
                                )
           vs.                  )
                                )
 UNITED STATES OF AMERICA,      )
                                )
                Defendant.      )
                                )
                                )
                                )
 ______________________________ )

          STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE

             IT IS HEREBY STIPULATED by and between the

 parties above-named, by and through their respective counsel

 undersigned, pursuant to Rule 41(a)(1)(ii), Federal Rules of

 Civil Procedure, that the above-entitled action be dismissed with

 prejudice, each party to bear its own costs.          There are no
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 remaining claims or parties.       This stipulation may be signed in

 counterparts.

       DATED:    November 30, 2011 at Honolulu, Hawaii.



                                          FLORENCE T. NAKAKUNI
                                          United States Attorney
                                          District of Hawaii


                                               /s/ Harry Yee
                                          By_________________________
                                            HARRY YEE
                                            Assistant U.S. Attorney

                                          Attorneys for Defendant


       DATED:    November 22, 2011 at Honolulu, Hawaii.



                                               /s/ Allen Williams
                                          ____________________________
                                          COLLIN M. FRITZ
                                          ALLEN K. WILLIAMS
                                          TRECKER & FRITZ
                                          Attorneys for Plaintiffs




 Jennifer Robinson, et al. v. USA; Civil No. 10-00141 LEK KSC;
 "Stipulation and Order for Dismissal with Prejudice"



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       APPROVED AND SO ORDERED:



                                     /S/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




 Jennifer Robinson, et al. v. USA; Civil No. 10-00141 LEK KSC;
 "Stipulation and Order for Dismissal with Prejudice"



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